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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION
   _____________________________

   CORI ANN GINSBERG, et al.

              Plaintiffs,

   v.                                              No. 1:19-cv-22702-KMW

   VITAMINS BECAUSE LLC, et al.,

         Defendants.
   ______________________________

                           REPLY MEMORANDUM IN SUPPORT OF
                    DEFENDANT GMAX CENTRAL, LLC’S RENEWED MOTION
                      TO COMPEL ARBITRATION AND FOR DISMISSAL OF
                       CLASS ACTION CLAIMS AND MOTION TO DISMISS
                            THE SECOND AMENDED COMPLAINT

              The Court should grant the motion to compel arbitration and stay or dismiss the litigation

   against defendant, Gmax Central, LLC (“Gmax”). The opposition concedes that the claims

   against Gmax by the two named plaintiffs in the Second Amended Complaint (“SAC”), Cori

   Ann Ginsberg (“Ginsberg”), Bill Wilson (“Wilson”), and their related putative class members

   (collectively “Gmax Plaintiffs”), are based on purchases made from Amazon.com. SAC ¶¶ 7,

   10. Without such purchases from Amazon plaintiffs would have no claim to assert against Gmax.

   There are no allegations in the SAC that plaintiffs actually purchased any Gmax SAMe product

   from some source other than Amazon. The Gmax Plaintiffs do not, because they cannot, deny

   that their agreement with Amazon requires arbitration of any claim related to the sale.

              Alternatively (and without waiving its arbitration rights), the SAC should be dismissed

   for the reasons set forth in the motion to dismiss and the reply memorandum filed by defendants




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   Vitamins Because, LLC and CT Health Solutions, LLC (collectively “Vitamins Because”). Dkt.

   Nos. 122, 130 (incorporated here by reference).

                                              ARGUMENT

   I.         THE CLAIMS AGAINST GMAX ARE EXPRESSLY BASED ON PURCHASES
              OF THE ACCUSED PRODUCTS FROM AMAZON.

              A.     The SAC Only Contains Allegations Of Product Purchases From Amazon.

              The SAC, the third pleading filed in this year old case, contains sparse and conclusory

   allegations against Gmax. Named plaintiffs Ginsberg and Wilson assert nine claims against

   Gmax based on the alleged purchases of a dietary supplement, known as SAMe, under the brand

   name NusaPure from Amazon.com. SAC ¶¶ 7, 10. Ginsberg allegedly viewed and purchased

   Gmax’s product from Amazon on September 20, 2018 for $34.99. Id. ¶ 7 & Ex. C. Wilson

   allegedly also viewed on Amazon and purchased Gmax’s product from Amazon on October 27,

   2018 for $34.99. Id. ¶ 10 & Ex. C. Notably missing from the SAC or the Gmax Plaintiffs’

   opposition is any factual or other assertion that Ginsberg, Wilson, or other specific plaintiff

   purchased Gmax’s product from any website or retail establishment other than Amazon. It is fair

   to say that the claims against Gmax at issue in this case, and plaintiffs standing to raise them, arise

   from Amazon purchases.

              The SAC is devoid of any non-conclusory fact alleging that any person purchased the

   SAMe product at issue from Gmax’s website or another unnamed non-Amazon retail source. For

   Twombly and Iqbal purposes, the only alleged facts are that the named plaintiffs and perhaps others

   purchased Gmax’s product from Amazon. It is certainly true that but for Ginsberg’s and Wilson’s

   purchases from Amazon, they would lack standing to bring the claims at issue. Plaintiffs lack

   standing to sue, both individually and on behalf of other consumers, on claims related to Gmax

   products they did not buy. To establish standing under Article III, a plaintiff must have suffered


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   an injury in fact. See, e.g., Ohio State Troopers Ass'n, Inc. v. Point Blank Enterprises, Inc., No.

   1:18-CV-63130-UU, 2019 WL 9093460, *3 (S.D. Fla. June 21, 2019). “To establish injury in fact,

   a plaintiff must show that he or she suffered ‘an invasion of a legally protected interest’ that is

   ‘concrete and particularized’ and ‘actual or imminent, not conjectural or hypothetical.’” Id.

   (quoting Spokeo, Inc. v. Robins, 136 S.Ct. 1540, 1548 (2016)). Further, “[m]any courts in this

   district have found that a plaintiff in a consumer class action lacks standing to challenge the

   marketing of a non-purchased product because the plaintiff has suffered no injury-in-fact.” Potter

   v. Potnetwork Holdings, Inc., No. 19-24017-CIV, 2020 WL 1516518, *2 (S.D. Fla. Mar. 30, 2020).

              Plaintiffs Ginsberg and Wilson allege that they only “viewed the label of and purchased

   one bottle of the subject product as it was available for sale by and under the private label brand

   retail name of “NusaPure” on Amazon.com . . . .” SAC ¶¶ 7, 10. However, they allege that they

   “intend[] to continue to shop on online, the Amazon website, and various pharmacies and outlets,

   including for purposes of purchasing SAMe dietary supplements . . . .” Id. The SAC alleges no

   facts to support that the Plaintiffs actually purchased Gmax products from any source other than

   Amazon.com. Their allegation as to their future intent is mere conjecture and hypothetical as

   Plaintiffs have not, and could not, suffer injuries in fact from unpurchased products. Thus,

   Plaintiffs lack standing to bring claims, both individually and on behalf of class plaintiffs, related

   to purchases of Gmax products from sources other than Amazon.com.

              Gmax Plaintiffs have had three attempts to plead facts showing purchases from retailers

   others other than Amazon and have failed to do so each time. As such, the claims at issue are




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   inextricably tied to Amazon purchases and the relevant agreements broadly requiring arbitration

   of disputes.

              B.     Plaintiffs Concede They Were Parties To An Agreement With Amazon.

              Plaintiffs’ opposition concedes that they were parties to the agreement with Amazon,

   which included an arbitration clause. The opposition represents that the “arbitration agreements

   between Nonparty Amazon and Plaintiffs are included in the Nonparty Amazon’s ‘conditions of

   use’ for consumers generally using the Amazon.com website, … and terms associated with

   Nonparty Amazon’s Prime Membership offered to consumers.” Dkt. No. 131 at 4 (citing Dkt.

   No. 126-1, Leyniers Decl. ¶¶ 4, 5, 7, 8). They also admit that Gmax was a party to Amazon’s

   Services Business Solutions Agreement relating to Fulfillment by Amazon product sales. Id.

   (citing Leyniers Decl. ¶¶ 9-10).

              The SAC relies on Amazon’s website to support its factual claims. For example, the Gmax

   Plaintiffs allege that Gmax was on actual or constructive notice that its SAMe product lacked the

   represented amount of the active ingredient, was defectively designed and made, and was not fit

   for the intended use based on “consumer complaints on Amazon webpages….” SAC ¶ 32. Gmax

   Plaintiffs allege that Gmax had a special relationship with them because its label’s representations

   would allow them to evaluate the SAMe product in comparison to other SAMe brands and

   supplements being sold on Amazon’s website. Id. ¶ 293.

              Gmax Plaintiffs SAC and opposition thus concede that they were parties to agreements

   with Amazon containing arbitration and class action waivers. There is no fact alleged in their

   operative pleading that they purchased Gmax’s SAMe product from any other retailer.




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   II.        GMAX PLAINTIFFS’ CLAIMS ARE WITHIN THE SCOPE OF THE
              ARBITRATION PROVISIONS.

              As shown in its renewed motion to compel arbitration, Gmax Plaintiffs’ claims against

   Gmax are within the scope of the arbitration provisions by agreeing to arbitrate any dispute or

   claim relating in any way to products or services sold or distributed by Amazon. Dkt. No. 126.

   “Whether a claim falls within the scope of an arbitration agreement turns on the factual allegations

   in the complaint rather than the legal causes of action asserted.” Gregory v. Electro-Mechanical

   Corp., 83 F.3d 382, 384 (11th Cir. 1996); see also Hermspherx Biopharma, Inc. v. Johannesburg

   Consol. Investments, 553 F.3d 1351, 1366 (11th Cir. 2008). The indicia of whether there is a

   relationship between the agreement and the disputes include “whether the tort or breach in question

   was an immediate, foreseeable result of the performance of contractual duties; whether an action

   could be maintained without reference to the contract or relationship at issue, whether the disputes

   have their origin or genesis in the contract; or whether the allegations underlying the claims touch

   matters covered by the contract.” Hermspherx, 553 F.3d at 1366-67 (internal citations and

   quotations omitted).

              There is a close relationship in this case. All of the factual claims alleged by Gmax

   Plaintiffs arise from and relate to the SAMe products sold through Amazon and the Fulfillment by

   Amazon program. Gmax Plaintiffs’ claims are based on representations they viewed on Amazon’s

   site, and they purchased the accused products through Amazon. See, e.g., SAC ¶¶ 7, 10, 293, 308.

   If not for the Amazon purchases, the Gmax Plaintiffs would not be able to allege the claims made

   in the SAC. Further, the arbitration provisions cover “any dispute or claim relating in any way

   to [the consumer’s] use of any Amazon Service, or to any products or services sold or distributed

   by Amazon or through Amazon.com.” Leyniers Decl. ¶ 5 & Ex. 1 (emphasis added). The factual

   allegations relating to each cause of action alleged by Gmax Plaintiffs relate to the products sold


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   through Amazon. Accordingly, Gmax Plaintiffs’ claims against Gmax fall squarely within the

   scope of the arbitration provision.

   III.       GMAX PLAINTIFFS’ ARGUMENTS                        FAIL      TO     OVERCOME          THE
              ARBITRATION PROVISIONS.

              Gmax Plaintiffs’ opposition rests on the idea that it did not sign an arbitration agreement

   with Gmax and its claims are not arbitrable. That argument is belied, however, by the doctrines

   of equitable estoppel and third-party beneficiary. Dkt. No. 126 at 12-16. And Gmax Plaintiffs

   cannot dispute that a nonsignatory may be entitled to enforce an arbitration clause. See, e.g., MS

   Dealer Serv. Corp. v. Franklin, 177 F.3d. 942, 947 (11th Cir. 1999), abrogated on other grounds,

   Arthur Anderson, LLP v. Carlisle, 556 U.S. 624, 631 (2009); Escobal v. Celebration Cruise

   Operator, Inc., 482 F. App’x 475, 476 (11th Cir. 2012).

              A.     Equitable Estoppel

              “[T]here are certain limited exceptions, such as equitable estoppel, that allow

   nonsignatories to a contract to compel arbitration.” Id. Equitable estoppel applies when the

   signatory to a written agreement containing an arbitration clause relies on the terms of that

   agreement in asserting its claims against a nonsignatory, such that when each of a signatory’s

   claims “makes reference to” or “presumes the existence of” a written agreement, the signatory’s

   claims “arise out of and relate directly to the written agreement,” and arbitration is appropriate.

   Id.

              In this case, Gmax Plaintiffs are admitted signatories to the agreements with Amazon

   relating to the purchase of Gmax’s SAMe product fulfilled by Amazon. Their claims against non-

   signatory Gmax are based on the existence of their written agreements with Amazon. Gmax

   Plaintiffs’ allegations and claims clearly arise out of and exist only by virtue of the relationship

   between Gmax Plaintiffs and Amazon. SAC ¶¶ 7, 10; Leyniers Decl. ¶¶ 4-8 & Exs. 1-2. Without


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   relying on the factual allegation of Amazon’s sales to Ginsberg and Wilson, they could not state a

   plausible claim against Gmax.

              “[A] defendant who is a non-signatory to an agreement containing an arbitration clause

   can force arbitration of a signatory’s claims when the signatory must rely on the terms of the

   written agreement in asserting its claims against the nonsignatory.” Kroma Makeup EU, LLC v.

   Boldface Licensing + Branding, Inc., 845 F.3d 1351, 1354 (11th Cir. 2017); see also Allscripts

   Healthcare Sols., Inc. v. Pain Clinic of Nw. Fla., Inc., 158 So.3d 644, 646 (Fla. 3d DCA 2014)).

   A nonsignatory can compel arbitration if the plaintiff relies on the contract to assert its claims and

   the scope of the arbitration clause covers the dispute. See id. at 1354; Leidel v. Coinbase Inc., 729

   F. App’x 883, 886-87 (11th Cir. 2018). Here, Gmax Plaintiffs rely on the Amazon agreements in

   alleging their claims against Gmax and the claims fall within the broad scope of the arbitration

   provision. Equitable estoppel precludes a party from claiming the benefits of a contract while

   simultaneously attempting to avoid the burdens that the contract imposes. See, e.g., Blinco v. Green

   Tree Servicing LLC, 400 F.3d 1308, 1312 (11th Cir. 2005).

              Gmax Plaintiffs clearly rely on the terms of an agreement in asserting their claims against

   Gmax. See MS Dealer, 177 F.3d at 947; Gunson v. BMO Harris Bank, N.A., 43 F. Supp. 3d 1396,

   1401 (S.D. Fla. 2014). Reliance occurred because Gmax Plaintiffs referred to and stated the

   existence of the Amazon agreements. See MS Dealer, 177 F.3d at 947.1 Each of Gmax Plaintiffs’

   claims against Gmax presumes the existence of the agreement between Gmax Plaintiffs and

   Amazon, as the products purchased through Amazon’s website and fulfilled by Amazon required




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    In MS Dealer, the Court found that plaintiff was equitably estopped from avoiding arbitration
   with a nonsignatory where the plaintiff’s claims for fraud and conspiracy presumed the existence
   of a charge contained in a retail installment contract, as the claims depended entirely upon her
   payment obligations under the installment contract. Id.

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   agreement by Gmax Plaintiffs to the “conditions and use.” Id. at 947-48. Since Gmax Plaintiffs’

   allegations and claims presume the existence of the agreement containing the arbitration provision,

   Gmax Plaintiffs are equitably estopped from claiming that Gmax cannot enforce the agreement in

   order to compel arbitration.

              Further, Gmax Plaintiffs’ claims against Gmax that the labels on the products sold

   through Amazon’s website were mislabeled are entirely based upon Gmax Plaintiffs’ agreement

   to purchase the products from Amazon. As such, Gmax Plaintiffs are estopped from avoiding

   arbitration with Gmax. See Gunson v. BMO Harris Bank, N.A., 43 F. Supp. 3d 1396, 1401 (S.D.

   Fla. 2014) (equitable estoppel applied where plaintiff’s claims were premised on allegations that

   the loans were unlawful debts and the interest rates were usurious such that the plaintiff relied

   on the terms of the underlying agreement to make out her claims against the non-signatory). The

   same result should occur here.

              B.    Third Party Beneficiary

              In addition, Gmax is a third-party beneficiary of the broad arbitration agreements

   between Amazon and Gmax Plaintiffs, such that it can be enforced against those plaintiffs. See,

   e.g., Zac Smith & Co., Inc. v. Moonspinner Condominium Ass’n, Inc., 472 So.2d 1324 (Fla. 1st

   DCA 1985); 2 WILLISTON ON CONTRACTS § 364A (1959)). Plaintiffs have previously told this

   Court that “all purchasing consumers are intended third party beneficiaries of the sales contract

   between [co-defendant Vitamins Because] and the various private label retailers for the subject

   SAMe [including Gmax].” Dkt. No. 129 at 18 (citing SAC ¶ 226). Similarly, Gmax, a non-

   contracting party, is a third party beneficiary of the agreements between any of the Gmax

   Plaintiffs, including Ginsberg and Wilson, and may enforce the arbitration provision of those




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   agreements. See, e.g., Mendez v. Hampton Court Nursing Ctr., LLC, 203 So.3d 146, 149 (2016),

   rehearing denied, 2016 WL 6603787 (Fla. Nov. 8, 2016).

              Gmax is a third party beneficiary of the agreements between the plaintiffs and Amazon,

   which is particularly true because the alleged sales of its SAMe product were made as part of

   the Fulfillment by Amazon program. Plaintiffs were subject to the terms of use of Amazon

   agreements providing that “[a]ny dispute or claim relating in any way to your use of the Amazon

   services sold or distributed by Amazon or through Amazon.com will be resolved” by arbitration.

   Leyniers Decl. ¶ 5 & Ex. 1.

              Accordingly, Gmax Plaintiffs’ claims based on sales through Amazon should be heard in

   arbitration and not by this Court.

   IV.        THE CLASS ACTION WAIVER IN THE AMAZON AGREEMENTS SHOULD
              BE ENFORCED.

              Gmax Plaintiffs agreed to a class action waiver in their agreements. They do not dispute

   that the Amazon agreements contain provisions mandating arbitration and waiving class actions

   in arbitration. The waiver should be enforced and the individual claims of Ginsberg and Wilson

   should be the only claims for which arbitration is compelled. See, e.g., AT&T Mobility LLC v.

   Concepcion, 563 U.S. 333, 344 (2011).

   IV.        ALTERNATIVELY, THE CLAIMS AGAINST GMAX SHOULD BE DISMISSED.

              As alternative relief and without waiving its arbitration motion, the claims against Gmax

   should be dismissed for the reasons set forth in Vitamins Because’s motion to dismiss the SAC

   and its reply memorandum. Dkt. Nos. 122, 130.

                                              CONCLUSION

              For the foregoing reasons, this matter belongs in arbitration. The Court should stay or

   dismiss the proceedings in this matter, compel arbitration of Ginsberg and Wilson’s individual


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    claims and dismiss the class claims. Alternatively, the Court should dismiss the SAC against Gmax

    with prejudice.

    Dated: August 24, 2020                      Respectfully submitted,

                                                /s/ Leon N. Patricios
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                                      CERTIFICATE OF SERVICE

               I hereby certify that on August 24, 2020, the foregoing was filed with the Clerk of the

    Court by using the CM/ECF system which will send a notice of electronic filing to counsel of

    record.

                                                       /s/ Leon N. Patricios
                                                       Leon N. Patricios




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